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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF MICHIGAN
______________________________________________________________________________

SANDRA JEANNE RANCOURT,                              CASE NO. 1:18-cv-00042-JTN-ESC
          Plaintiff,
                                                     Judge Janet T. Neff
       vs.                                           Magistrate Judge Ellen S. Carmody

EXPERIAN INFORMATION
SOLUTIONS, INC.; TRANS
UNION, LLC; and EQUIFAX, INC.;
            Defendants.
______________________________________________________________________________

 TRANS UNION, LLC’S NOTICE OF WITHDRAWAL OF AFFIRMATIVE DEFENSES
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       Trans Union, LLC (“Trans Union”), by counsel, hereby informs this Court that Trans

Union has agreed to withdraw Affirmative Defenses 2 through 13 from its Answer And

Affirmative Defenses [Doc. No. 8] to Plaintiff’s Complaint.

                                                     Respectfully submitted,



Date: March 2, 2018                                  /s/ James L. Policchio
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